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 /2009
 /2011
 ary
 101-7-TFR
 3 Services
                                                        UNITED STATES BANKRUPTCY COURT
                                                           WESTERN DISTRICT OF TEXAS
                                                              SAN ANTONIO DIVISION


                In Re:                                                                          §
                                                                                                §
                AGORA DIGITAL HOLDINGS, INC.                                                    §           Case No. 23-51490 MMP
                                                                                                §
                                                              Debtor                            §

                                                             TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                       1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                 11/01/2023 . The undersigned trustee was appointed on .

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $             100,000.00

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                                          0.00
                                                  disbursement
                                                  Administrative expenses                                                        12,992.32
                                                  Bank service fees                                                                  48.11
                                                  Other payments to creditors                                                         0.00
                                                  Non-estate funds paid to 3rd Parties                                                0.00
                                                  Exemptions paid to the debtor                                                       0.00
                                                  Other payments to the debtor                                                        0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $               86,959.57

                 The remaining funds are available for distribution.
          ____________________
                     1
                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

              6. The deadline for filing non-governmental claims in this case was 04/05/2024 and the
      deadline for filing governmental claims was . All claims of each class which will receive a
      distribution have been examined and any objections to the allowance of claims have been
      resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
      made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 8,250.00 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 8,250.00 , for a total compensation of $ 8,250.00 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 471.24 , for total expenses of $ 471.24 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 08/26/2024                                     By:/s/RANDOLPH N. OSHEROW
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                FORM
                                                  11 1
                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                  Page:      1
                                                                    ASSET CASES                                                                               Exhibit A
Case No:             23-51490         MMP     Judge: MICHAEL M. PARKER                            Trustee Name: RANDOLPH N. OSHEROW
Case Name:           AGORA DIGITAL HOLDINGS, INC.                                                 Date Filed (f) or Converted (c):      11/01/23 (f)
                                                                                                  341(a) Meeting Date:                  12/07/23
 For Period Ending: 08/26/24
                                                                                                  Claims Bar Date:                      04/05/24


                                  1                                      2                    3                 4               5                            6
                                                                                     Estimated Net Value
                                                                                      (Value Determined      Property                                   Asset Fully
                                                                   Petition/           by Trustee, Less      Formally       Sale/Funds              Administered (FA)/
                          Asset Description                       Unscheduled         Liens, Exemptions,    Abandoned       Received by          Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)             Values             and Other Costs)     OA=554(a)        the Estate                   Assets

 1. BANK OF AMERICA CHECKING ENDING 0103                                     6.00                    6.00                                0.00               FA
 2. ACCT RECEIVABLE OVER 90 DAYS OLD-void                                Unknown                     0.00                                0.00               FA
    FACE AMT $151,519.00 - this amount from original
    schedules but not listed on amended schedules of 1/23/24,
    docket no. 18
 3. 100% MEMBER INTEREST IN BITSREAM MINING,LLC                          Unknown                     0.00                            5,000.00               FA
 4. OFFICE FURNITURE LOCATED IN SOUTH CAROLINA                           Unknown                     0.00                            5,000.00               FA
    FACE VALUE $34,111.00
 5. NOTE RECEIVABLE FROM TREND VENTURES, LP                              Unknown                     0.00                       90,000.00                   FA
    FACE AMOUNT $4,527,192.00

                                                                                                                                                Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                           $6.00                 $6.00                      $100,000.00                            $0.00
                                                                                                                                                  (Total Dollar Amount
                                                                                                                                                         in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 341 reset to 1/19 at 9am

 waiting to complete 341 meetingJanuary 04, 2024, 12:28 pm

 Initial Projected Date of Final Report (TFR): 12/31/24           Current Projected Date of Final Report (TFR): 12/31/24




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                                               FORM
                                                 11 2                                   Page: 1
                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              23-51490 -MMP
                                                                                                                                                                          Exhibit B
                                                                                                 Trustee Name:                      RANDOLPH N. OSHEROW
  Case Name:            AGORA DIGITAL HOLDINGS, INC.                                             Bank Name:                         Axos Bank
                                                                                                 Account Number / CD #:             *******2131 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******0596
  For Period Ending:    08/26/24                                                                 Blanket Bond (per case limit): $ 197,925,000.00
                                                                                                 Separate Bond (if applicable):



      1             2                               3                                      4                                              5                   6                7

 Transaction    Check or                                                                                                Uniform                          Disbursements    Account / CD
    Date        Reference                Paid To / Received From             Description Of Transaction               Trans. Code    Deposits ($)             ($)          Balance ($)
                                                                   BALANCE FORWARD                                                                                                    0.00
     02/21/24               GREEN ELEPHANT HOLDINGS, LLC           DEPOSIT ON ASSET PURCHASE                          1129-000            10,000.00                            10,000.00
                            1718 CAPITOL AVE.
                            CHEYENNE, WY 82001
     02/21/24       5         Asset Sales Memo:                    NOTE RECEIVABLE FROM TREND                                                                                  10,000.00
                                                                   VENTURES, LP $10,000.00
                                                                   03/26/2024, DOC. #26 - Order Regarding
                                                                   (related document(s): 22 Motion for Authority to
                                                                   Sell Assets Pursuant to 11 U.S.C. Section 363(f)
                                                                   (Note, Office Furniture, and Ownership Interest
                                                                   in Bitstream Mining, LLC), (WITH 21 Day
                                                                   Objection Language) (Filing Fee: $199.00) filed
                                                                   by Brian Talbot Cumings for Trustee Randolph
                                                                   N Osherow. (Attachments: #(1) Exhibit Green
                                                                   Elephant APA #(2) Exhibit Kratos APA #(3)
                                                                   Proposed Order Granting Motion #(4) Appendix
                                                                   Service List)(Cumings, Brian) Modified on
                                                                   2/27/2024 .) (Order entered on 3/26/2024)
                                                                   (McGee, Maxine)
     02/22/24               KRATOS MINING, LLC                     DEPOSIT ON ASSET PURCHASE                          1129-002                1,000.00                         11,000.00
                            PO BOX 483                             03/26/2024, DOC. #26 - Order Regarding
                            CHALFONT, PA 18914                     (related document(s): 22 Motion for Authority to
                                                                   Sell Assets Pursuant to 11 U.S.C. Section 363(f)
                                                                   (Note, Office Furniture, and Ownership Interest
                                                                   in Bitstream Mining, LLC), (WITH 21 Day
                                                                   Objection Language) (Filing Fee: $199.00) filed
                                                                   by Brian Talbot Cumings for Trustee Randolph
                                                                   N Osherow. (Attachments: #(1) Exhibit Green
                                                                   Elephant APA #(2) Exhibit Kratos APA #(3)
                                                                   Proposed Order Granting Motion #(4) Appendix
                                                                   Service List)(Cumings, Brian) Modified on
                                                                   2/27/2024 .) (Order entered on 3/26/2024)
                                                                   (McGee, Maxine)
     04/01/24               Axos Bank                              BANK SERVICE FEE                                   2600-000                                    12.15        10,987.85
     04/19/24               KRATOS MINING LLC                      SELL OF BITSTREAM AND OFFICE FURN.                 1129-000            10,000.00                            20,987.85
                            PO BOX 483
                            CHALFONT, PA 18914-0483
     04/19/24       3         Asset Sales Memo:                    100% MEMBER INTEREST IN BITSREAM                                                                            20,987.85
                                                                   MINING,LLC $5,000.00
     04/19/24       4         Asset Sales Memo:                    OFFICE FURNITURE LOCATED IN SOUTH                                                                           20,987.85
                                                                   CAROLINA $5,000.00
                                                                   03/26/2024, DOC. #26 - Order Regarding
                                                                   (related document(s): 22 Motion for Authority to
                                                                   Sell Assets Pursuant to 11 U.S.C. Section 363(f)
                                                                   (Note, Office Furniture, and Ownership Interest
                                                                   in Bitstream Mining, LLC), (WITH 21 Day
                                                                   Objection Language) (Filing Fee: $199.00) filed
                                                                   by Brian Talbot Cumings for Trustee Randolph
                                                                   N Osherow. (Attachments: #(1) Exhibit Green
                                                                   Elephant APA #(2) Exhibit Kratos APA #(3)
                                                                   Proposed Order Granting Motion #(4) Appendix
                                                                   Service List)(Cumings, Brian) Modified on


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                                                  FORM
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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              23-51490 -MMP
                                                                                                                                                                           Exhibit B
                                                                                                   Trustee Name:                      RANDOLPH N. OSHEROW
     Case Name:            AGORA DIGITAL HOLDINGS, INC.                                            Bank Name:                         Axos Bank
                                                                                                   Account Number / CD #:             *******2131 Checking Account (Non-Interest Earn
     Taxpayer ID No:       *******0596
     For Period Ending:    08/26/24                                                                Blanket Bond (per case limit): $ 197,925,000.00
                                                                                                   Separate Bond (if applicable):



         1             2                              3                                      4                                              5                 6                  7

 Transaction       Check or                                                                                               Uniform                        Disbursements     Account / CD
    Date           Reference               Paid To / Received From             Description Of Transaction               Trans. Code    Deposits ($)           ($)           Balance ($)
                                                                     2/27/2024 .) (Order entered on 3/26/2024)
                                                                     (McGee, Maxine)
        04/24/24               GREEN ELEPHANT HOLDINGS               SALE OF TREND VENTURES, LP                         1129-000            80,000.00                          100,987.85
                               1718 CAPITOL AVE.
                               CHEYENNE, WY 82001-4528
        04/24/24       5         Asset Sales Memo:                   NOTE RECEIVABLE FROM TREND                                                                                100,987.85
                                                                     VENTURES, LP $80,000.00
                                                                     03/26/2024, DOC. #26 - Order Regarding
                                                                     (related document(s): 22 Motion for Authority to
                                                                     Sell Assets Pursuant to 11 U.S.C. Section 363(f)
                                                                     (Note, Office Furniture, and Ownership Interest
                                                                     in Bitstream Mining, LLC), (WITH 21 Day
                                                                     Objection Language) (Filing Fee: $199.00) filed
                                                                     by Brian Talbot Cumings for Trustee Randolph
                                                                     N Osherow. (Attachments: #(1) Exhibit Green
                                                                     Elephant APA #(2) Exhibit Kratos APA #(3)
                                                                     Proposed Order Granting Motion #(4) Appendix
                                                                     Service List)(Cumings, Brian) Modified on
                                                                     2/27/2024 .) (Order entered on 3/26/2024)
                                                                     (McGee, Maxine).
        05/01/24               Axos Bank                             BANK SERVICE FEE                                   2600-000                                  35.96        100,951.89
 *      05/09/24   002001      KRATOS MINING, LLC                    REIMBURSE EARNEST MONEY                            1129-004             -1,000.00                           99,951.89
                               26100 AMERICAN DR. SUITE 500          05/08/2024, Doc. 33 - Trustee's Advisory to the
                               SOUTHFIELD, MI 48034                  Court( refund to Kratos Mining, LLC of
                                                                     $1000.00) (Osherow, Randolph) (related
                                                                     document(s): 26 Order Regarding (related
                                                                     document(s): 22 Motion for Authority to Sell
                                                                     Assets Pursuant to 11 U.S.C. Section 363(f)
                                                                     (Note, Office Furniture, and Ownership Interest
                                                                     in Bitstream Mining, LLC), (WITH 21 Day
                                                                     Objection Language) (Filing Fee: $199.00) filed
                                                                     by Brian Talbot Cumings for Trustee Randolph
                                                                     N Osherow. (Attachments: #(1) Exhibit Green
                                                                     Elephant APA #(2) Exhibit Kratos APA #(3)
                                                                     Proposed Order Granting Motion #(4) Appendix
                                                                     Service List)(Cumings, Brian) Modified on
                                                                     2/27/2024.) (Order entered on 3/26/2024).
 *      05/28/24   002002      GRAVES DOUGHERTY HEARON &             ATTORNEY FEES: $12,985.32                          3210-003                              12,985.32          86,966.57
                               MOODY PC                              05/28/2024, DOC #35 - Order Approving
                               401 CONGRESS AVE., SUITE 2700         Compensation for Brian Talbot Cumings of
                               AUSTIN, TX 78701                      Graves Dougherty Hearing & Moody, PC in the
                                                                     represenation of Trustee Chapter 7, Period:
                                                                     11/28/2023 to 4/25/2024, Expenses awarded:
                                                                     $12992.32; Awarded on 5/28/2024 (related
                                                                     document(s): 30 Application for Allowance of
                                                                     Compensation for Services Rendered Fees in the
                                                                     amount of $12,985.00 and Expenses in the
                                                                     amount of $7.32 filed by Brian Talbot Cumings
                                                                     for Attorney Graves Dougherty Hearon &
                                                                     Moody, P.C. (Order entered on 5/28/2024)
                                                                     (Hardage, Bridget)
 *      05/28/24   002002      GRAVES DOUGHERTY HEARON &             ATTORNEY FEES: $12,985.32                          3210-003                              -12,985.32         99,951.89



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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              23-51490 -MMP
                                                                                                                                                                           Exhibit B
                                                                                                   Trustee Name:                     RANDOLPH N. OSHEROW
     Case Name:            AGORA DIGITAL HOLDINGS, INC.                                            Bank Name:                        Axos Bank
                                                                                                   Account Number / CD #:            *******2131 Checking Account (Non-Interest Earn
     Taxpayer ID No:       *******0596
     For Period Ending:    08/26/24                                                                Blanket Bond (per case limit): $ 197,925,000.00
                                                                                                   Separate Bond (if applicable):



         1             2                              3                                      4                                             5                   6                7

 Transaction       Check or                                                                                              Uniform                          Disbursements    Account / CD
    Date           Reference               Paid To / Received From             Description Of Transaction              Trans. Code    Deposits ($)             ($)          Balance ($)
                               MOODY PC                              WRONG AMOUNT ENTERED.
                               401 CONGRESS AVE., SUITE 2700
                               AUSTIN, TX 78701
        05/28/24   002003      GRAVES DOUGHERTY HEARON &             ATTORNEY FEES                                     3210-000                                12,985.00        86,966.89
                               MOODY PC                              05/28/2024, DOC #35 - Order Approving
                               401 CONGRESS AVE., SUITE 2700         Compensation for Brian Talbot Cumings of
                               AUSTIN, TX 78701                      Graves Dougherty Hearing & Moody, PC in the
                                                                     represenation of Trustee Chapter 7, Period:
                                                                     11/28/2023 to 4/25/2024, Expenses awarded:
                                                                     $12992.32; Awarded on 5/28/2024 (related
                                                                     document(s): 30 Application for Allowance of
                                                                     Compensation for Services Rendered Fees in the
                                                                     amount of $12,985.00 and Expenses in the
                                                                     amount of $7.32 filed by Brian Talbot Cumings
                                                                     for Attorney Graves Dougherty Hearon &
                                                                     Moody, P.C. (Order entered on 5/28/2024)
                                                                     (Hardage, Bridget)
        05/28/24   002004      GRAVES DOUGHERTY HEARON &             ATTORNEY EXPENSES                                 3220-000                                     7.32        86,959.57
                               MOODY PC                              05/28/2024, DOC #35 - Order Approving
                               401 CONGRESS AVE., SUITE 2700         Compensation for Brian Talbot Cumings of
                               AUSTIN, TX 78701                      Graves Dougherty Hearing & Moody, PC in the
                                                                     represenation of Trustee Chapter 7, Period:
                                                                     11/28/2023 to 4/25/2024, Expenses awarded:
                                                                     $12992.32; Awarded on 5/28/2024 (related
                                                                     document(s): 30 Application for Allowance of
                                                                     Compensation for Services Rendered Fees in the
                                                                     amount of $12,985.00 and Expenses in the
                                                                     amount of $7.32 filed by Brian Talbot Cumings
                                                                     for Attorney Graves Dougherty Hearon &
                                                                     Moody, P.C. (Order entered on 5/28/2024)
                                                                     (Hardage, Bridget)
 *      06/21/24   002001      KRATOS MINING, LLC                    Stop Payment Reversal                             1129-004                1,000.00                         87,959.57
                               26100 AMERICAN DR. SUITE 500          STOP PAYMENT
                               SOUTHFIELD, MI 48034
 *      06/27/24   002005      KRATOS MINING, LLC                    REIMBURSEMENT EARNEST MONEY                       1129-004             -1,000.00                           86,959.57
                                                                     REPLACES LOST CHECK #2001
                                                                     05/08/2024, Doc. 33 - Trustee's Advisory to the
                                                                     Court( refund to Kratos Mining, LLC of
                                                                     $1000.00) (Osherow, Randolph) (related
                                                                     document(s): 26 Order Regarding (related
                                                                     document(s): 22 Motion for Authority to Sell
                                                                     Assets Pursuant to 11 U.S.C. Section 363(f)
                                                                     (Note, Office Furniture, and Ownership Interest
                                                                     in Bitstream Mining, LLC), (WITH 21 Day
                                                                     Objection Language) (Filing Fee: $199.00) filed
                                                                     by Brian Talbot Cumings for Trustee Randolph
                                                                     N Osherow. (Attachments: #(1) Exhibit Green
                                                                     Elephant APA #(2) Exhibit Kratos APA #(3)
                                                                     Proposed Order Granting Motion #(4) Appendix
                                                                     Service List)(Cumings, Brian) Modified on
                                                                     2/27/2024.) (Order entered on 3/26/2024).
 *      07/19/24   002005      KRATOS MINING, LLC                    Stop Payment Reversal                             1129-004                1,000.00                         87,959.57



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                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              23-51490 -MMP
                                                                                                                                                                          Exhibit B
                                                                                                    Trustee Name:                    RANDOLPH N. OSHEROW
  Case Name:            AGORA DIGITAL HOLDINGS, INC.                                                Bank Name:                       Axos Bank
                                                                                                    Account Number / CD #:           *******2131 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******0596
  For Period Ending:    08/26/24                                                                    Blanket Bond (per case limit): $ 197,925,000.00
                                                                                                    Separate Bond (if applicable):



      1             2                              3                                         4                                             5                  6                 7

 Transaction    Check or                                                                                                 Uniform                         Disbursements    Account / CD
    Date        Reference               Paid To / Received From                Description Of Transaction              Trans. Code    Deposits ($)            ($)          Balance ($)
                                                                     STOP PAYMENT
     07/22/24   002006      KRATOS MINING, LLC                       REIMBURSEMENT EARNEST MONEY                        1129-000            -1,000.00                           86,959.57
                                                                     05/08/2024, Doc. 33 - Trustee's Advisory to the
                                                                     Court( refund to Kratos Mining, LLC of
                                                                     $1000.00) (Osherow, Randolph) (related
                                                                     document(s): 26 Order Regarding (related
                                                                     document(s): 22 Motion for Authority to Sell
                                                                     Assets Pursuant to 11 U.S.C. Section 363(f)
                                                                     (Note, Office Furniture, and Ownership Interest
                                                                     in Bitstream Mining, LLC), (WITH 21 Day
                                                                     Objection Language) (Filing Fee: $199.00) filed
                                                                     by Brian Talbot Cumings for Trustee Randolph
                                                                     N Osherow. (Attachments: #(1) Exhibit Green
                                                                     Elephant APA #(2) Exhibit Kratos APA #(3)
                                                                     Proposed Order Granting Motion #(4) Appendix
                                                                     Service List)(Cumings, Brian) Modified on
                                                                     2/27/2024.) (Order entered on 3/26/2024).




                                                       Account                  Balance Forward                          0.00
                                                                              8 Deposits                           100,000.00                  9 Checks                        12,992.32
                                                       *******2131
                                                                              0 Interest Postings                        0.00                  2 Adjustments Out                   48.11
                                                                                                                                               0 Transfers Out                      0.00
                                                                                  Subtotal                  $      100,000.00
                                                                                                                                                 Total                    $    13,040.43
                                                                              0 Adjustments In                           0.00
                                                                              0 Transfers In                             0.00

                                                                                  Total                     $      100,000.00




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                                                                         EXHIBIT C
 Page 1                                                                                                                                              Date: August 26, 2024
                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:     23-51490                                              Claim Class Sequence
 Debtor Name:     AGORA DIGITAL HOLDINGS, INC.


Code #            Creditor Name & Address             Claim Class       Notes                              Amount Allowed             Paid to Date         Claim Balance

              GRAVES DOUGHERTY HEARON & Administrative                                              $12,985.00            $12,985.00                                 $0.00
001           MOODY PC                      05/28/2024, DOC #35 - Order Approving Compensation for Brian Talbot Cumings of Graves
3210-00       401 CONGRESS AVE., SUITE 2700 Dougherty Hearing & Moody, PC in the represenation of Trustee Chapter 7, Period: 11/28/2023 to
              AUSTIN, TX 78701              4/25/2024, Expenses awarded: $12992.32; Awarded on 5/28/2024 (related document(s): 30
                                            Application for Allowance of Compensation for Services Rendered Fees in the amount of
                                            $12,985.00 and Expenses in the amount of $7.32 filed by Brian Talbot Cumings for Attorney
                                            Graves Dougherty Hearon & Moody, P.C. (Order entered on 5/28/2024) (Hardage, Bridget)
                                                                                     7632100002131       05/28/24     2003               12,985.00

              GRAVES DOUGHERTY HEARON & Administrative                                                   $7.32                  $7.32                                $0.00
001           MOODY PC                      05/28/2024, DOC. #35 - Order Approving Compensation for Brian Talbot Cumings of Graves
3220-00       401 CONGRESS AVE., SUITE 2700 Dougherty Hearing & Moody, PC in the represenation of Trustee Chapter 7, Period: 11/28/2023 to
              AUSTIN, TX 78701              4/25/2024, Expenses awarded: $12992.32; Awarded on 5/28/2024 (related document(s): 30
                                            Application for Allowance of Compensation for Services Rendered Fees in the amount of
                                            $12,985.00 and Expenses in the amount of $7.32 filed by Brian Talbot Cumings for Attorney
                                            Graves Dougherty Hearon & Moody, P.C. (Order entered on 5/28/2024) (Hardage, Bridget)


                                                                                     7632100002131       05/28/24     2004                     7.32

                            Subtotal for Class Administrative                                                     $12,992.32            $12,992.32                   $0.00
000001        Daniel Koehler                         Unsecured                                                           $0.00               $0.00                   $0.00
070           213 Sunshadow Dr.                        This claim is disallowed in its entirety as per order dkt#26, 3/26/24.
7100-00       Lockhart, TX 78644-213

000002        Print Crypto, Inc.                     Unsecured                                                   $256,733.28                 $0.00            $256,733.28
070           c/o Stephen Buckle                       (2-1) Services and equipment
7100-00       1401 Lavaca Street, Suite 515
              Austin, TX 78701

                            Subtotal for Class Unsecured                                                         $256,733.28                 $0.00            $256,733.28

                Case Totals:                                                                                     $269,725.60            $12,992.32            $256,733.28
 Code #: Trustee's Claim Number, Priority Code, Claim Type




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                                          TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 23-51490 MMP
     Case Name: AGORA DIGITAL HOLDINGS, INC.
     Trustee Name: RANDOLPH N. OSHEROW
                         Balance on hand                                              $               86,959.57

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                           Interim Payments Proposed
                         Reason/Applicant              Total Requested     to Date          Payment
       Trustee Fees: RANDOLPH N. OSHEROW $                      8,250.00 $                0.00 $         8,250.00
       Trustee Expenses: RANDOLPH N.
       OSHEROW                                        $           471.24 $                0.00 $          471.24
       Attorney for Trustee Fees: GRAVES
       DOUGHERTY HEARON & MOODY PC                    $        12,985.00 $        12,985.00 $                0.00
       Attorney for Trustee Expenses: GRAVES
       DOUGHERTY HEARON & MOODY PC                    $               7.32 $              7.32 $             0.00
                 Total to be paid for chapter 7 administrative expenses               $                  8,721.24
                 Remaining Balance                                                    $               78,238.33


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:




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                                                             NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 256,733.28 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 30.5 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                       Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                     of Claim              to Date          Payment
     000001               Daniel Koehler             $              0.00 $              0.00 $              0.00
     000002               Print Crypto, Inc.         $       256,733.28 $               0.00 $        78,238.33
                 Total to be paid to timely general unsecured creditors                $              78,238.33
                 Remaining Balance                                                     $                    0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                             NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.




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            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                         NONE




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